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EXHIBIT 13
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                                                               Trinity Term
                                                            [2016] UKSC 47
                                       On appeal from: [2014} EWCA Civ 215




                        JUDGMENT

 Bailey and another (Respondents) v Angove's PTY
               Limited (Appellant)



                              before

                  Lord Neuberger, President
                        Lord Clarke
                       Lord Sumption
                       Lord Carnwath
                        Lord Hodge



                  JUDGMENT GIVEN ON


                          27 July 2016


                      Heard on 8 June 2016
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         Appellant                                Respondents
    Stephen Moria1iy QC                           Jamie Riley
Francis Reynolds QC (Hon)                         Philip Hinks
       Nicholas Craig
  (Instrncted by APP Law                    (Instructed by Shoosmiths
         Solicitors)                                   LLP)
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 LORD SUMPTION: (with whom Lord Neuberger, Lord Clarke, Lord
 Carnwath and Lord Hodge agree)


 1.      This appeal raises two important and controversial questions of commercial
 law. The first is: in what circumstances will the law treat the authority of an agent
 as irrevocable. The other is whether the receipt of money at a time when the recipient
 knows that inuninent insolvency will prevent him from perforn1ing the
 co1Tesponding obligation, can g1ve rise to liability to account as a constructive
 trustee.


 Introduction


 2.     Angove's Pty Ltd is an Australian winemaker, which for many years
 employed an English company called D&D Wines International Ltd as its agent and
 distributor in the United Kingdom. D&D acted in both capacities. It bought wines
 from Angove' s in its 0\¥11 right and it sold wines on Angove' s behalf to UK
 customers, generally retailers. Both activities were governed at the relevant time by
 an Agency and Distribution Agreement (or "ADA") dated l December 20 11 . Under
 clause 34, the ADA was tenninable by either side on six months ' notice, or, under
 clause 36, by notice with immediate effect in a number of events, including the
 appointment of an adminish·ator or liquidator.


 3.      On 21 April 20 12, D&D went into administration, and on 10 July 20 12
 moved into creditors ' voluntary liquidation. At the commencement of the
 administration, there were outstanding invoices amounting altogether to
 A$874,928.81 , representing the price of wine which D&D had sold to two UK
 retailers, but which the latter had not yet paid. On 23 April 2012, Angove' s gave
 written notice te1minating the ADA and any authority of D &D to collect the price
 from these two customers. The notice declared that Angove 's proposed to collect
 the price directly from the customers and would account separately to D&D for their
 conun1ss1011.


 4.      In due course, the liquidators objected to this course. They claimed to be
 entitled to collect on the outstanding invoices, deduct commission due to D&D, and
 leave Angove's to prove in the winding up for the rest of the price. The liquidators
 have never denied that Angove 's was entitled to terminate the ADA or that their
 notice of 23 April 2012 had that effect. But they contended that the relationship
 between D&D and Angove's in relation to the transactions covered hy the invoices
 was that of buyer and seller, not agent and principal, and that accordingly the
 company 's liability to Angove's at the co1m11encement of the administration was a
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 simple debt for goods sold and delivered. Angove 's disputed this contention. They
 also argued that any moneys held by D&D for their account were held in trust for
 them. By agreement between the parties, the sums paid to D&D on the invoices after
 the notice of termination were held by the liquidators in an escrow account pending
 the resolution of the dispute, and the sums paid directly to Angove's were held in
 their solicitors' client accotmt on the same te1111s.


 5.     The matter came before His Honour Judge Pelling QC, sitting as a judge of
 the High Court, on an application under section 112 of the Insolvency Act 1986
 [2013) EWHC 215 (Ch). He held that in the relevant respects the relationship
 between Angove's and D&D was that of principal and agent only, and that D&D 's
 authority to collect the price from customers came to an end upon service of
 Angove ' s te1111ination notice. In the Court of Appeal, the liquidators did not
 challenge the judge 's finding that D&D acted as agents. Their case was that if D&D
 acted in the relevant respects as agents, their authority to collect the price of goods
 which they had sold on Angove's behalf survived the termination of the ADA
 because they needed it in order to recover their commission. The Court of Appeal
 (Patten, Lewison and Sharp LLJJ) accepted this argument and allowed the appeal
 on that basis [2014) EWCA Civ 215; [2014) 2 BCLC 129; Angove' s alternative case
 that the proceeds of the invoices were held in trust for them failed at both stages,
 although for different reasons.


 The revocabihty of an agent 's authority


 6.     The general rule is that the authority of an agent may be revoked by the
 principal, even if it is agreed by their contract to be in-evocable. The revocation is
 effective to tenninate the agent's authority, but gives rise to a claim for damages.
 Powers of attorney were said by Lord Kenyon to be "revocable from th eir nature":
 Walsh v Whitcomb (1797) 2 Esp 565, 566. In Story's Law ofAgency, 2nd ed (1864),
 p 598, at para 463, the rule was said to be "so plain a doctrine of c01mnon sense and
 common justice that it requires no illustration or reasoning to suppo1t it."
 Nonetheless, its basis has never really been in doubt. An agent is empowered to
 c01mnit his principal within the limits of his authority as if the principal had agreed
 personally. This is a confidential relationship importing a duty of loyalty, and
 normally of undivided loyalty, on the part of the agent. As Lord Atkinson observed,
 delivering the advice of the Privy Council in Frith v Frith [ 1906) AC 254, 261 , to
 allow the agent to exercise his authority after it has been revoked would amount to
 the specific enforcement of a relationship which is by its nature not specifically
 enforceable.


 7.     The main exception to the general rule is the case where the agent has a
 relevant interest of his own in the exercise of his authority. The exception applies if
 two conditions are satisfied. First, there must be an agreement that the agent's

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 authority shall be i1Tevocable. Secondly, the authority must be given to secure an
 interest of the agent, being either a proprietary interest (for example a power of
 attorney given to enable the holder of an equitable interest to perfect it) or a liability
 (generally in debt) owed to him personally. In these cases, the agent's authority is
 irrevocable while the interest subsists.


 8.     Both conditions are now reflected in section 4(1) of the Powers of Attorney
 Act 1971 , as regards authority confe1Ted by a power of attorney. The first condition
 is perhaps self-evident, but so far as authority is required, it is supplied by the
 decisions of the Privy Council in Esteban de Comas v Prost and Kohler ( 1865) 3
 Moo PC NS 158 and Frith v Frith [1906] AC 254. The second condition was
 established in Walsh v Whitcomb, supra, where the exception was said to apply in
 " every case where a power of attorney is necessary to effectuate any security" . In
 Smart v Sandars (1848) 2 CB 895, 917-918, commonly regarded as the leading case,
 Wilde CJ, delivering the judgment of the Court of Common Pleas, declared that:


               "where an agreement is entered into on a sufficient
               consideration, whereby an authority is given for the purpose of
               securing some benefit to the donee of the authority, such an
               authority is irrevocable. This is what is usually meant by an
               authority coupled with an interest, and which is commonly said
               to be i1Tevocable. But we think this doctrine applies only to
               cases where the authority is given for the purpose of being a
               security, or, as Lord Kenyon expresses it, as a part of the
               security; not to cases where the authority is given
               independently, and the interest of the donee of the authority
               arises afterwards, and incidentally only."


 These cases demonstrate that an agreement that the agent's authority is to be
 irrevocable may be inferred, but not from the mere co-existence of the agency and
 the interest. It is necessary that the one should be intended to support the other. The
 exception thus stated follows from the logic of the rnle. Where the parties agree that
 the agent is to have a personal financial interest in the perfonnance of his agency,
 over and above the receipt of his remuneration, his duty of loyalty is to that extent
 compromised. The reason for declining to enforce his right to act for the principal
 therefore falls away.


 9.    The ambit of the exception for authority coupled with an interest is more
 nanowly defined by the editors of Bowstead and Reynolds on Agency, 20th eel
 (2014), para 10-007. They say that it applies




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               "where the notion of agency is employed as a legal device for
               a different purpose from that of nom1al agency, to confer a
               security or other interest on the 'agent'. In such a case it is
               intended that the agent use the authority not for the benefit of
               his principal but for his own benefit, to achieve the objects of
               the arrangement."


 This would appear to confine the exception to cases where the authority exists solely
 in order to secure the agent 's financial interest, and is in reality no more than the
 c01mnercial equivalent of an assignment. In such a case, the editors suggest, the law
 of agency is not really engaged at all, because the beneficiary of the authority is only
 nominally an agent. In my opinion, this is too nan ow. It is no doubt a fair description
 of the simplest cases, but I do not accept that it can be a general principle of law. At
 one extreme lie cases such as Walsh v Whitcomb, supra, where a power of attorney
 was granted solely to enable the grantee to satisfy a pre-existing debt owed to the
 agent, or Gaussen v Morton (1830) l 0 B&C 731 , where an owner of land gave a
 power of attorney to a creditor to sell the land to satisfy the debt. No one doubts that
 the exception applies in such cases. At the opposite extreme, it does not apply where
 the agent's only interest is a commercial interest in being able to earn his
 c01mnission. The reason is that in that case, the authority is not properly speaking a
 security at all: Doward, Dickson & Co v Williams & Co (1890) 6 TLR 3 16; Temple
 Legal Protection Ltd v QBE Insurance (Europe) Ltd [2009] Lloyd's Rep IR 544, at
 para 50. But there are situ ations lying between these polar positions where the
 relationship of principal and agent is broader than the mere collection of money to
 satisfy the agent's debt, so th at the agent may be said to act both for himself and his
 principal. In Smart v Sandars, supra, for example, the agent was a grain factor and
 the advances said to be secured by the agent's authority were made against the
 proceeds of sale of unsold grain. It is clear that the agent would have succeeded but
 for the fact that the advances bad been made after and independently of the agency
 agreement so that the latter could not be constrned as securing them. There is no
 principled reason why a trne agent employed on his principal 's affairs should not
 also be regarded as having a personal interest in the exercise of his authority
 sufficient to make it inevocable. Thus although, as I have said, the agent ' s
 c01mnercial interest in continuing to act in order to earn commission is not enough
 to make his authority inevocable, his interest in recovering a debt in respect of
 commission already earned may well be. There is no reason to distinguish a debt
 arising in this way from any other debt, provided that it is sufficiently clear that the
 patties intended that the agent's authority should secure it.


 10.    There are a number of special cases in which the authority of an agent bas
 been held to be inevocable on what appears to be a wider basis. They include the
 irrevocable authority confened on the promoter of a public share offering to
 subscribe for shares (In re Hannan 's Express Gold Mining and Development Co;
 Carmichael 's Case [ 1896] 2 Ch 643), the inevocable authority confe1Ted by a bidder

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 on an auctioneer of land to execute the memorandum of sale if it is knocked down
 to him (Van Praagh v Everidge [1902] 2 Ch 266, reversed on other grounds [1903]
 I Ch. 434), and the iITevocable authority confen ed by a Lloyd's name on his
 managing agent to underwrite (Daly v Lime Street Underwriting Agencies [ 1987] 2
 FTLR 277, Society of Lloyd's v Leighs [1 997] CLC 759 decided on other grounds
 in the Court of Appeal The Times, 11 August 1997). The result ii1 these cases was
 undoubtedly convenient, but they do not lend themselves to analysis along the lii1es
 discussed above. Nothing that I have said should therefore be taken to refer to them.


 Application to the present case


 11.    At this point, it is necessary to look more closely at the terms of the ADA.
 Clause I Oprovided that where D&D took Angove ' s products as theii· agents for sale,
 the terms of any sale should be the standard terms set out at Annexure A. These were
 drafted on the footing that the parties to the contract of sale were Angove 's and "the
 customer", defined as "the person ... who acquires goods from Angove." They
 provided for the purchaser to pay the price within 90 days of the bill of lading date.


 12.    D&D ' s right to commission is governed by clause 21:


               " 21.   Angove will pay to D&D conunission :


                       (a)     in such amounts as shall be agreed between
                       Angove and D&D based on the Net Selling Price of
                       every sale of Products or Angove PBPs to a customer in
                       D&D 's allocated sectors within the Territory arranged
                       by D&D during the term of this Agreement (other than
                       on its own accotmt);


                       and


                       (b)   on any Bulk Wine supplies made by Angove, or
                       by any company or entity wholly owned by Angove
                       pursuant to clause 17 during the term of this
                       Agreement."


 13.    Clauses 20 and 22 deal with the procedure for the payment of the price:




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               "20. Payment for Products ordered by or on behalf of D&D
               must be made, whether by D&D or the customer, on or before
               90 days from the date of bill of lading, or otherwise as may be
               agreed, by direct credit in Australian dollars into the bank
               account nominated from time to time by Angove.




               22.  Cornmission due under clause 2 l (a) shall be paid to
               D&D as follows:


                      (a)    Angove will issue an invoice addressed to D&D
                      (identifying the customer as consignee) for the relevant
                      goods, together with a credit note for the amount of
                      D&D' s commission on that sale;


                      (b)    D&D will be responsible for collecting payment
                      of the amount of Angove's invoice from the customer;


                      (c)    D&D will pay the amount of Angove' s invoice,
                      less the amount of the credit note, on or before the due
                      date in accordance with clause 23."


 It is common ground that the combined effect of clauses 20 and 22(c) was to require
 D&D to account to Angove's within 90 days of the bill of lading date for the price
 of the goods sold to customers on Angove 's behalf, whether or not the price had by
 then been received from the customers.


 14.   Finally, it is necessary to refer to clause 37, which deals with certain of the
 consequences of termination. This provides, so far as relevant:


               " 37. Upon termination of this Agreement for any reason
               whatsoever:


                      (a)    each party must pay to the other all money owing
                      up to and including the date of tennination in respect of
                      the sale of Products and Angove PBPs and/or
                      L:urrun1ss1011   thereon,   wilhuul    any    <le<luL:Liun,
                      withholding or set-off for any reason whatsoever;

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                Tennination of this Agreement does not affect the accrued
                rights or remedies of either party. Obligations expressed to
                arise or continue on or after termination of this Agreement
                survive its tennination."


  15.     The Comt of Appeal held that D&D ' s authority was irrevocable because the
  general rnle that authority can be revoked "must yield to what the patties have
  agreed should be their respective legal rights and obligations on the termination of
  the agency" (para 25). Construing the ADA, they held that a continuing right to
  collect the price from the customer was implicit in (i) D&D 's right to deduct
  commission from the price before remitting it to Angove' s, and (ii) D&D' s
  obligation to account to Angove's for the price within 90 days of the bill, whether
  or not it had by then been received from the customer. This was because these
  features of the agreement gave rise to liabilities of Angove ' s to D&D, which could
  be set off against sale proceeds in D&D' s hands. It will be apparent from this that
  the Comt of Appeal applied only pmt of the test. The general rule is that an agent's
  authority is revocable even if it is agreed to be irrevocable. It cannot therefore be
  enough to exclude the general rule that the authority is agreed to be i1Tevocable.
  What has to be agreed is not just that the authority is to be irrevocable but that it is
  intended to secure the financial interest of the agent. Both are questions for the
  construction of the agreement. The Court of Appeal did not address the latter
  criterion.


  16.    It is convenient to deal with both conditions together. In my opinion, neither
  of them was satisfied, for the following reasons:


         ( 1)   D&D had express authority to collect from the customer under clause
         22(b), and it would have been simple enough to provide in tem1s that it was
         irrevocable. But it is not expressed to be inevocable or to survive the
         termination of the agreement. So far as the language offers any indication, it
         is to the opposite effect. By virtue of the final paragraph of clause 3 7,
         authority to collect the price would survive the termination of the agreement
         only if it constih1ted an "accrued right or remedy" of the agent. But it is
         described in clause 22(b) as a responsibility, not a right. I would accept that
         for the purpose of clause 37 a provision may be "expressed" to survive
         te1mination if, although not spelled out in so many words, it is nevertheless a
         sufficiently clear implication from the express terms. But for the following
         reasons I consider that no such implication is possible.




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       (2)    The first point to be made is that while D&D assume the
       "responsibility" of collecting payment from customers to whom they sell as
       Angove 's agent, there is nothing to stop the customer from paying Angove' s
       directly. Under the standard terms required to be agreed with the customer
       the price is payable to "Angove", which "means Angove Pty Ltd, and
       includes D&D Wines International Ltd, where it acts as agent for Angove Pty
       Ltd." This is consistent with clause 20, which envisages that payment may be
       made to Angove 's by D&D or directly by the customer. This makes it, as it
       seems to me, difficult to regard collection from the customer as a right, as
       opposed to a function of D&D, and even more difficult to regard it as a
       security.


       (3)    It is co1Tect that D&D ' s right to commission under clause 21 survives
       the tennination of the agreement, because it accrnes unconditionally when
       the sale is made, therefore before termination. But the question is whether the
       right to deduct it from the price under clause 22(c) is a mere procedural
       mechanism or a security. It is not the only way of recovering it. If the price
       is paid directly by the customer to Angove ' s, the commission is payable by
       Angove' s directly. In that event D&D would lose the ability to set off the
       commission against any sale proceeds in their hands. But the i1Tevocability
       of D&D 's authority cannot be infe1Ted from the mere fact that D&D would
       to some extent and in some circumstances benefit if it was so.


       (4)     Much the same point may be made about D&D ' s obligation under
       clauses 20 and 22(c) to account to Angove's for the price within 90 days of
       the bill of lading date. This was a right of Angove 's. It accrued when the
       goods were shipped, albeit that payment would not be due until later. It
       follows, as the Court of Appeal held, that in relation to goods shipped before
       the tem1ination of the ADA it survived that event, just as it would have done
       if D&D had bought the goods in their own right. Clause 20 applies in both
       cases. It does not, however, follow that D&D had the continuing authority of
       Angove's to collect the price from the customer. Once they had paid the price
       to Angove ' s, they were entitled at common law to collect it from the customer
       on the ground that they had compulsorily discharged the customer's liability
       for the price: A1oule v Garrett (1872) LR 7 Ex 101 ; Ibrahim v Barclays Bank
       Pie [2013] Ch 400. The source of this right is the law of unjust enriclun ent.
       It is not the authority of Angove's, who have no further standing in the matter
       once they have been paid.


       (5)    It is inherently improbable that the parties should have intended the
       authority to be inevocable. They had expressly envisaged the possibility of
       insolvency and provided for a muh1al right of termination in that event. For
       an exporter in particular, there are particular problems associated with
       financial dealings with an insolvent agent for sale, which Angove's clearly
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          wished to avoid. If the agent's authority to collect money from third parties
          survives tennination the effect would be to secure D&D's right to 5%
          commission in the event of the insolvency of Angove's, but at far greater cost
          to Angove 's in the event of the insolvency of D&D. They would have to
          prove as unsecured creditors in the liquidation for the remaining 95%.


  17.    I conclude that Angove' s notice of 23 April 2012 was immediately effective
  to tenninate D&D' s authority to collect on the outstanding invoices.


  Trust


  18.     This means that it is strictly speaking unnecessary to deal with the second
  point, namely whether the funds paid by customers to D&D since the
  c01mnencement of the administration are held in trust for Angove's. But since the
  point is of some general importance and has been fully argued before us, I think it
  right to deal with it. I do so on the assumption that (contrary to the conclusion that I
  have reached) Angove' s notice of termination was not effective to te1rninate D &D 's
  authority to collect on the invoices.


  19.    An agent has a duty to account to his principal for money received on his
  behalf. It is, however, well established that the duty does not necessarily give rise to
  a tiust of the money in the agent's hands. That depends on the intentions of the
  parties derived from the contract, or in some cases from their conduct. As a broad
  generalisation, the relations between principal and agent must be such that the agent
  was not at liberty to treat as part of his general assets money for which he was
  accountable to his principal. This will usually, but not invariably, involve
  segregating it from his own money. The editors of Bowstead and Reynolds on
  Agency, 20th ed (2014), 219, para 6-041 , put the matter in this way:


                 "the present trend seems to be to approach the matter more
                 functionally and to ask whether the trust relationship is
                 appropriate to the commercial relationship in which the parties
                 find themselves; whether it was appropriate that money or
                 property should be, and whether it was, held separately, or
                 whether it was contemplated that the agent should use the
                 money, property or proceeds of the property as part of his
                 normal cash flow in such a way that the relationship of debtor
                 and creditor is more appropriate."


  The judge held that in principle any liability of D&D to account for money collected
  from customers under the ADA gave rise to a purely personal liability sounding in

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  debt, and not to a proprietary claim; whereas money collected outside the ADA,
  after their authority had been terminated, would be held in bust for Angove's.
  However, he concluded that none of this mattered because the proceeds of the
  invoices fell to be dealt with in accordance with the escrow arrangements. There is
  no longer any issue on these points.


  20.    In the Court of Appeal matters took a different turn. Before the hearing of the
  appeal the court wrote to the parties drawing their attention to a passage from the
  18th edition of Lewin on Tntsfs (2006), which suggested that the proceeds of the
  invoices might be held on a constrnctive trnst for Angove's even if there was a
  continuing authority to collect it. In the 19th ed (2015), the conesponding passage
  reads:


                "Unconscionable assertion of title to money payments by
                agents


                Money received by an agent, though not held on an express
                tru st for his principal, nor on a Quistelose tlust, may be held on
                a constructive trust for his principal on the ground that it would
                be unconscionable for the agent to assert a title to the money
                having regard to the circumstances of the agent at the time of
                receipt. Such a constrnctive trust has been held to arise where
                the agent receives money from his principal for application by
                the agent under a contract which the agent will be unable to
                perfom1 because of his pending insolvency, or where the agent
                receives money from a third party for onward transmission to
                his principal which he is unable to do in view of his insolvency,
                even though the contract with the principal negatives an
                express trust."


  The authorities cited for these propositions are the decisions of Bingham J in Neste
  Oy v Lloyd's Bank Pie [1983] 2 Lloyds Rep 658 and Nicholas Warren QC, sitting
  as a deputy High Court Judge in In re Japan Leasing Europe Pie [ 1999] BPIR 9 11.


  21.     Neste Oy v Lloyd's Bank Pie concerned the right of the bank to combine the
  accounts of an insolvent shipping agent called Peckston Shipping Ltd (or "PSL").
  PSL settled on behalf of their shipowner clients bills payable to harbour authorities,
  pilots, fuel merchants, and other providers of goods and services. The shipowners
  sometimes put them in funds in advance and sometimes reimbursed them in arrears.
  The plaintiff shipowners claimed that the unspent balance of six payments made by
  them to a general account of PSL were held for them in trnst. Their primary case
  was that the payments were subject to an implied trust to pay the money to the

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  suppliers. This arose either by virtue of the agency relationship or as a special
  purpose (or Quistclose) trust: see Barclays Bank Ltd v Quistclose Investments Ltd
  [1970) AC 567. Bingham J rejected this, but held that there was a constructive trust
  of the sixth payment, which had been received after the directors of PSL had
  concluded that their company was insolvent. The judge took as his starting point a
  quotation from Story' s Commentaries on Equity Jurisprudence , 2nd ed (1839), vol
  2, para 1255, which had been cited by Goulding Jin Chase Manhattan Bank NA v
  Israel-British Bank (London) Ltd [198 1) Ch 105, 117-118 as being " in accord with
  the general principles of equity as applied in England" :


                "the receiving of money which consistently with conscience
                cannot be retained is, in equity, sufficient to raise a trust in
                favour of the party for whom or on whose account it was
                received. This is the governing principle in all such cases. And
                therefore, whenever any controversy arises, the true question
                is, not whether money has been received by a party of which
                he could not have compelled the payment, but whether he can
                now, with a safe conscience, ex aequo et bono, retain it."


  Applying this statement to the facts before him, he held, at p 666:


                " Given the situation of PSL when the last payment was
                received, any reasonable and honest directors of that company
                (or the actual directors had they known of it) would, I feel sure,
                have ainmged for the repayment of that sum to the plaintiff's
                without hesitation or delay. It would have seemed little sho1i of
                sharp practice for PSL to take any benefit from the payment,
                and it would have seemed contrary to any ordinary notion of
                fairness that the general body of creditors should profit from
                the accident of a payment made at a time when there was bound
                to be a total failure of consideration. Of course it is true that
                insolvency always causes loss and perfect fairness is
                unattainable. The bank, and other creditors, have their
                legitimate claims. It nonetheless seems to me that at the time of
                its receipt PSL could not in good conscience retain this
                payment and that accordingly a constructive trust is to be
                inferred."


  22.    In re Japan Leasing Europe Pie [1999) BPIR 911 concerned what was in
  effect a hire purchase agreement for an aircraft between four leasing companies and
  Olympic Airways. The contract documentation provided for the payment of the
  price in instalments to designated accounts in various cunencies of one of the
  lessors, Japan Leasing. Japan Leasing was to receive the money on behalf of itself

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 and the other three lessors. Japan Leasing went into administration, and a month
 later received an instalment into the designated accounts. The issue was whether the
 money was held in trust to pay their shares to the three other lessors. The deputy
 judge rejected the primary argument of the three solvent lessors that there was an
 express trust, but held that the last instalment was held on a constructive trust for the
 other lessors. The judge referred to an observation of the editors of Bowstead and
 Reynolds (cutTently the 20th ed (2014), at p 219) immediately after the passage
 which I have quoted above:


               " a central question, really one of policy, .. . is whether the rights
               of the principal are sufficiently strong and differentiable from
               other claims, for him to be given priority in respect of them in
               the agent's bankruptcy."


 This had been quoted with apparent approval by Lord Goff of Chieveley in Lord
 Napier and Ettrick v Hunter [1993] AC 7 13, 744, although it was not the ground on
 which he decided that case. The deputy judge then referred, at pp 922-923, to
 Bingham J's decision in Neste Oy. He was invited to distinguish it on the ground
 that in Neste Oy the agent had no contractual right to the sixth payment. The money
 had been destined for the payment of service-providers who were not beneficiaries
 of the trust. The only consideration which the agent gave was its performance of its
 general obligations as a shipping agent, and that was the consideration for its
 charges, not for the sixth payment. Japan Leasing, by comparison, was contractually
 entitled to receive the money. Although it was accountable for most of it to the other
 three lessors, it had given consideration for its share of the instalments. The deputy
 judge rejected this distinction because it was irrelevant to Bingham J's reasoning:


               "The constructive trust is imposed because it would be
               unconscionable for the company, as agent, to receive money as
               agent knowing that it could not account for it to its principal.
               In this context, the passage from Bowstead quoted in Napier
               (see above) is relevant and in my judgment the only answer
               which could be given to the question there posed is that the
               rights of the vendors are sufficiently strong, and differentiable
               from other claims, for the vendors to be entitled to a prior
               position in respect of them on the company' s insolvency
               (whether the question arises in an administration, a voluntary
               arrangement or a liquidation). The joint administrators have
               not, of course, acted unconscionably: they have, quite properly,
               brought the matter before the court. But it would, in my
               judgment, be unconscionable for them to continue to assert any
               claim to the moneys."



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  23.    The distinction which Nicholas Wan-en QC rejected was, however, accepted
  by the Court of Appeal in the present case. They justified the result in Neste Oy on
  the ground that the payments to PSL were " essentially gratuitous", and that the
  treatment of the sixth payment as part of the insolvent estate would have been a "real
  windfall for the creditors". The position in Japan Leasing, they thought, was
  different, for the reason unsuccessfully submitted to Nicholas Warren QC. The
  Court of Appeal therefore doubted whether the decision was right. On the footing
  that D&D had a contractual right to collect the proceeds of the invoices in order to
  recover their commission on the sales, they thought that it could not have been
  unconscionable for D&D to retain the money and that there was no constructive
  trust.


  24.    I agree with the Court of Appeal that there was no constructive trust in this
  case. But this conclusion does not in my view depend on whether D&D gave
  consideration for the money. There are, I think, more fundamental objections to the
  constructive trust proposed by Angove's.


  25.     At the time when the money was paid by the customers to D&D it was not
  impressed with any trust in favour of Angove ' s. If, therefore, a constructive trust
  came into being, it did so for the first time upon its reaching the hands of the payee.
  The money would thereafter be traceable for as long as it remained identifiable in
  the hands of any third party other than a bona fide purchaser for value without notice.
  It would not fonn part of the insolvent estate, thereby confen-ing priority on
  Angove 's over other creditors, including many whose position would otherwise be
  no different from theirs. This is elementary, and fundamental. The statutory rules
  for the distribution of insolvent estates represent an important public policy designed
  to achieve a pro rnta distribution of the company' s estate between its creditors. For
  that purpose it is necessary to assess claims as at a fixed and common point of time,
  namely when the company went into liquidation. The arbitrary character of any cut-
  off date is to some extent mitigated by statutory provisions for adjusting prior
  transactions prejudicial to creditors, such as preferences and transactions at an
  undervalue, and imposing liabilities for fraudulent or wrongful trading, but these
  provisions operate in their cunent form to restore the insolvent estate for the benefit
  of creditors as a whole.


  26.     It is inherent in the statutory scheme of distribution in an insolvency that
  apparently arbitrary results may follow from the adventitious timing of the
  commencement of the liquidation, especially in the case of defe1Ted obligations. In
  principle, an advance payment to a company made before the commencement of the
  liquidation for an obligation performable afterwards will fonn part of the company' s
  estate, notwithstanding that its supervening insolvency means that the obligation
  will not be performed, at any rate in specie. The payer must prove in the liquidation
  for damages for the breach of contract. Likewise, a contractor providing goods or
  services on credit will have to prove in the liquidation for the price if the other pa1ty
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  becomes insolvent before paying. The rule is the same for money received for his
  principal's account by an agent who becomes insolvent before accounting for it,
  unless (contrary to the unchallenged finding of the judge in this case) the relations
  between the parties were such as to make the agent an express trustee of money in
  his hands. The money will fonn pait of the agent's insolvent estate, and the principal
  must prove in the liquidation. In the nature of things, these consequences involve a
  detriment for the payer, attributable to the timing of the company's insolvency; and
  a windfall for the general creditors, since the estate available for distribution will be
  increased by the payment without being reduced by the cost of performance. As
  Professor Goode has remarked,


                " It is when [scholars] seek to ... argue for a proprietary right
                when there is no proprietary base that the line is crossed
                between what is fair and what is not, for it is the defendant 's
                unsecured creditors who are then at risk. If the court wishes to
                show its disapproval of the defendant's conduct by making a
                personal restitutionary order, no harm is done. If the defendant
                is not in bankruptcy the order will be complied with and
                enforced for the plaintiffs benefit, if the defendant does
                become bankrupt before then, the plaintiff is properly required
                to compete with other unsecured creditors. To accord the
                plaintiff a proprietary right to the benefit obtained by the
                defendant, and to any profits or gains resulting from it, at the
                expense of the defendant's unsecured bankruptcy creditors
                seems completely wrong, both in principle and in policy,
                because the wrong done to the plaintiff by the defendant's
                improper receipt is no different in kind from that done to
                creditors who have supplied goods and services without
                receiving the bargained for payment" : Goode, ' Ownership and
                Obligation in Comm ercial Transactions' (1987) 103 LQR 433,
                444.


  What in effect Bingham J decided in Neste Oy was that the position was different
  where at the time of the receipt of the money the payee knew that there was bound
  to be a total failure of consideration. In that event, he would have not just a personal
  but a proprietary restitutionary claim for the money.


 27.     English law is generally averse to the discretionary adjustment of property
 rights, and has not recognised the remedial constructive trust favoured in some other
 jurisdictions, notably the United States and Canada. It has recognised only the
 institutional constructive trust: Westdeutsche Landesbank Giro::entrale v Islington
 London Borough Council [1996] AC 669, 714-7 15 (Lord Browne-Wilkinson), FHR
 European Ventures LLP v Cedar Capital Partners LLC [2015] AC 250, at para 47.

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  In the fom1er case, the difference was explained by Lord Browne-Wilkinson in the
  following terms:


                "Under an institutional constructive trust, the trust arises by
                operation of law as fro m the date of the circumstances which
                give rise to it: the function of the court is merely to declare that
                such trust has arisen in the past. The consequences that flow
                from such trust having arisen (including the possibly unfair
                consequences to third parties who in the interim have received
                the trust property) are also detenn ined by rules of law, not
                under a discretion. A remedial constructive trust, as I
                understand it, is different. It is a judicial remedy giving rise to
                an enforceable equitable obligation: the extent to which it
                operates retrospectively to the prejudice of third parties lies in
                the discretion of the court."


  28.     Bingham J's point of depaiture in Neste Oy was that the recipient of money
  may be liable to account for it as a constructive trustee if he cannot in good
  conscience assert his own beneficial interest in the money as against some other
  person of whose rights he is aware. As a general proposition this is plainly right. But
  it is not a sufficient statement of the test, because it begs the question what good
  conscience requires. Property rights are fixed and ascertainable rights. Whether they
  exist in a given case depends on settled principles, even in equity. Good conscience
  therefore involves more than a judgment of the relative moral merits of the parties.
  For that reason it seems to me, with respect, that Bingham J's observation in Neste
  Oy that any reasonable and honest director would have returned the sixth payment
  upon its receipt begs the essential question whether he should have returned it. It
  cam10t be a sufficient answer to that question to say that it would be "contrary to
  any ordinary notion of fairness" for the general creditors to benefit by the payment.
  Reasoning of this kind might be relevant to the existence of a remedial constructive
  trust, but not an institutional one. The observation of the editors of Bowstead and
  Reynolds and of Nicholas Warren QC in Japan Leas;ng that a proprietary claim
  should be recognised whenever the claim is "sufficiently strong and differentiable
  from other claims" to wairnnt giving it priority over other claims in an insolvency,
  seems to me to be open to the same objection.


  29.     In English law, one of the essential requisites for a trust of whatever kind is
  that there must be identifiable trust property (or its traceable proceeds) in the hands
  of the recipient which are not available to him as part of his general assets: see
  Westdeutsche Landesbank Giro:::entrale v Islington London Borough Council [ 1996]
  AC 669, 705. The only true exception to this (which did not arise in Neste Oy) is the
  case of a person liable to account as a constructive trnstee on the ground of his
  dishonest assistance in a breach of trust. The difficulty about the decision in Neste
  Oy concerning the sixth payment is that Bingham J had rejected the argument that
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  the agency relationship between the shipowners and PSL was such as to impose the
  status of a trustee on the agents, and had declined to find that the payments were
  subject to a special purpose trust. He had rejected these submissions mainly because
  the agent was not expected to keep the funds remitted to it by the shipowners
  separate from its own, but was entitled to treat them as part of its general assets: see
  pp 664-665. It follows that in paying money to PSL the shipowners intended to part
  with any interest in the money, subject only to a purely personal obligation of PSL
  to account to them for what they had done w ith it and to repay any balance due as a
  debt. The judge made a similar finding in the present case.


  30.      The exact circumstances in which a restitutionary proprietary claim may exist
  is a controversial question which has given rise to a considerable body of judicial
  comment and academic literature. For present purposes it is enough to point out that
  where money is paid with the intention of transferring the entire beneficial interest
  to the payee, the least that must be shown in order to establish a constructive trust is
  (i) that that intention was vitiated, for example because the money was paid as a
  result of a fundamental mistake or pursuant to a contract which has been rescinded,
  or (ii) that irrespective of the intentions of the payer, in the eyes of equity the money
  has come into the wrong hands, as where it represents the fruits of a fraud, theH or
  breach of trust or fiduciary duty against a third party. One or other of these is a
  necessary condition, although it may not be a sufficient one. Neither of them was
  satisfied in Neste Oy. In particular, the prospect of a total failure of consideration,
  however inevitable, is not a circumstance which could have vitiated the intention of
  the shipowner to part with its entire interest in the money. The right to the restih1tion
  of money paid on a consideration which has wholly failed is simply a process of
  contractual readjustment, giving rise like the contract itself to purely personal
  obligations. If an achml total failure of consideration does not give rise to a
  proprietary restitutionary right, I do not see how a prospective one can do so.


  31.    In my view, the decision in Neste Oy caimot be justified, at any rate on the
  ground on which it was decided. Japan Leasing was in my view wrongly decided,
  not just for that reason, but for the reason given by the Court of Appeal, namely that
  the recipient having a contractual right to the money, it could not be unconscionable
  for them to receive it into their account.


  32.    Mistake was not argued in Neste Oy. Bingham J had refused to allow the
  shipowners to rely on it because they took the point too late. But it has subsequently
  been suggested that since the shipowners presumably paid the money in the belief
  that PSL was in a position to disburse it to the service-providers, mistake would have
  been a better basis for the decision: In re Farepak Food and Gifts Ltd [2008] BCC
  22, at paras 39-40 (Mann J). Whether that is correct is not a question which ai-ises
  on this appeal. The money was paid to D&D by the customers, not by Angove 's.
  They no doubt paid it in the belief that D&D was authorised to collect it, or at least
  that payment to them would discharge their liability for the price. The question of
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  trust arises on the hypothesis that D&D was authorised to collect the proceeds of the
  invoices, and on that hypothesis their belief was not mistaken.


  Conclusion


  33.     I would allow the appeal and declare that the fund representing the proceeds
  of the invoices is payable to Angove's.




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